UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
UNITED STATES OF AMERICA )
) No. 3:22-cr-00282
Vv. )
) JUDGE RICHARDSON
[1] GLEN CASADA )
[2] CADE COTHREN )
)

STIPULATIONS

The United States, through Assistant United States Attorney Taylor J. Phillips and Trial
Attorneys John P. Taddei and Blake J. Ellison; the defendant, Glen Casada, through his attorneys
Edward M. Yarbrough, Jonathan P. Farmer, and Chase Fann; and the defendant, Cade Cothren,
through his attorneys Cynthia A. Sherwood and Joy B. Longnecker, hereby stipulate to the
following:

STIPULATION NO. 1:

During each of the calendar years 2019, 2020, and 2021, the State of Tennessee received
benefits in excess of $10,000 under federal programs involving a grant, subsidy, loan, guarantee,
insurance, and other forms of federal assistance, as charged in Counts One, Two, Three, and Four
of the Indictment.

STIPULATION NO. 2:

Each email and Apple iMessage identified in Counts Five, Six, Seven, Eight, Nine, and

Ten was a wire communication transmitted in interstate commerce.
STIPULATION NO. 3:
Between at least January 1, 2018, and December 31, 2021, Sun Trust Bank and First

Horizon Bank were financial institutions engaged in interstate commerce and their activities

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affected interstate commerce.

Respectfully submitted,

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Chathia Shemwood Cade Cothren
Joy Longnecker Defendght
e Cothren

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Jonathan Farmer Glen Casada

Ed Yarbrough Defendant
Chase Fann

Counsel for Glen Casada

Ce Pldbe

Taylor Phillips

John Taddei

Blake Ellison

Counsel for the United States

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